       Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 1 of 62


                                               LAW OFFICE OF

                                JOSEPH F. HENNESSEY
                                                 807 Main Street
                                        Worcester, Massachusetts 01610

Telephone: (508) 881-9500                                                      Facsimile: (508) 519-9199



January 30, 2021


Chief Steven Sargent
Worcester Police Department
9-11 Lincoln Sq.
Worcester, MA 01608


 Re:        Public Records Request


Dear Chief Sargent:

         Pursuant to Massachusetts General Laws chapter 66 §10, and chapter 4 §7 please accept
this as a formal request, for the below-listed documents to be provided to me within ten (10)
days:


       1.   Any Worcester Police incident report, or Mass. State Police report in your possession,
            daily log, summary, IDC reports or supplemental police reports submitted by either the
            Worcester Police or Mass. State Police or the K-9 unit that came in contact with Ms,
            Korlu Kennedy, also known as Korlu Kormah, on or about April 10, 2019 at 184
            Cohasset Street, Worcester, MA.

       2.   Any Mass. State Police, Worcester Police incident report, daily log, summary, IDC
            reports or supplemental police reports submitted by either the Worcester Police or Mass.
            State Police or a police K-9 unit that came in contact with Ms. Korlu Kennedy, at 184
            Cohasset Street, Worcester, MA from January 1, 2019 to present.

       3.   Copy of any search warrant, search warrant affidavit and search warrant return for 184
            Cohasset Street, Worcester MA in connection with a police entry, raid and search of this
            apartment from January 1, 2019 to present.

    4,      A copy of any citation, complaint and warrant for Augustust B, Kormah, used on or
            about April 10, 2019 to obtain entry of 184 Cohasset Street, Worcester.


    5.      Any photographs or videos taken of the interior of 184 Cohasset Street, Worcester at the
            time of entry and exit by the MSP and Worcester Police from January 1, 2019 to present.
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6.    Daily logs/rosters or daily journal of any Worcester police officers and/or Massachusetts
      State Police that were present at 184 Cohasset Street on or about April 10, 2019, or any
      date from January 1, 2019 to present to conduct a search of Augustus B. Kormah.


7.    All address entries of Augustus B. Kormah from January 1, 2015 to present.

8.    All address entries of Korlu Kennedy, aka Korlu Kormah from J anuary 1, 2015 to
      present,

9.     List the full name of law enforcement officers from the Worcester Police Department or
      any other municipal police departments that were part of an entry on or about April 10,
      2019 at the entry and search of 184 Cohasset Street, Worcester, MA.

10. Any use of force reports prepared by any law enforcement officer from the Worcester
    Police or agents from the Mass State Police, or any other agency for the entry and search
      of 184 Cohasset Street, Worcester, MA on or about April 10, 20109.

11. Any K-9 search reports prepared by any agency, including the Worcester Police,
    associated with the entry and search of 184 Cohasset Street, Worcester, MA on or about
    April 10, 2019.

12.    Any statements or summaries of statements provided by Korlu Kennedy, aka Korlu
      Kormah, Valissa Shaelton, or civilian in connection with the police entry of 184 Cohasset
      Street, Worcester, MA on April 10, 2019.

13. Any radio dispatches or 911, telephone calls and text messages between the Mass State,
    Worcester Police and the Worcester Police Dispatcher regarding the entry into 184
    Cohasset Street, Worcester, MA on or about April 10, 2019.

14. Any internal investigations or commander investigations in connection with the entry
    and search of 184 Cohasset Street, Worcester, MA on or about April 10, 2019,


15.        Any and all supplemental reports submitted by any Worcester Police officer and/or
      Massachusetts State Trooper participating in the entry and search of 184 Cohasset Street,
      Worcester on or about April 10, 2019.


16.        Any policies of the Worcester Police Department in connection with assistance to
      any agency seeking to execute a search warrant or arrest warrant within the City of
      Worcester. Seeking all policies that were in place on or about April 10, 2019.
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    17. Please provide the list of internal investigations (referred to as a concise officer history of
        each officer present in the search at 184 Cohasset Street, Worcester, MA on or about
        April 10, 2019,

    18. All police reports involving Korlu Kennedy, aka Korlu Kormah from J anuary 1, 2015 to
        present.



        Should you determine that some portion of the document is exempt from disclosure, I
        request that you release any portion of the documents that are not exempt. I reserve my
        right to appeal such a decision. If you determine that a requested document, or any portion
        of a requested document, is exempt from disclosure, please note the applicable statutory
        exemption and explain why it applies to the requested record.


        Please mail the resulting documents and outline of fees to

                   Joseph F, Hennessey
                   807 Main Street
                   Worcester, MA 01608

       or email to JH@Hennesseylaw.net


In the event you have any questions, please do not hesitate to contact my law office at S08 881-
9500

Thank you for your courtesy and anticipated cooperation.     I look forward to your response within
the 10 days.
Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 4 of 62




                                          EXHIBIT # 7
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                                               LAW OFFICE OF
                                   HECTOR E. PINEIRO, PC.
                                                   " 807 MAIN STREET
                                           ‘WORCESTER, MASSACHUSETTS 01610
HECTORE. PINFIRO                                     (508) 770-0600               CORRESPONDENT
                                                                                  ee
                                                          —                        MARIA 8. PINEIRO SOLER, L.L.M.
ROBERT A. 8COTT                                  . FAX (508) ae                    EDIFICIO PONCE EB LEON
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   CRUZ DE PINEIRO
                                                                                   SAN JUAN, PUERTO RICO 00918
Msines
                                                                                   TEL: (787) 250.8304
                                                                                   BAX   (787) 758.4236


                                            March 18, 2021
          BY CERTIFIED MAIL, RETURN RECEIPT REQUESTED
          RECEIPT NO.:
          Lidia A. Maldonado, Secretary
          Executive Office of Public Safety
          One Ashburton Place, Rm. 2133
          Boston, MA 02108

          RECEIPT NO.: Hon. Maura Healy,
          Massachusetts Attorney General
          McCormack Bldg.
          One Ashburton Place
          Boston, MA 02108

          RECEIPT NO.:
          Colonel Christopher S. Mason, Superintendent
          Massachusetts State Police, General Headquarters
          470 Worcester Road
          Framingham, MA 01702

         RE:      Notice & Presentment under the Massachusetts Tort Claims Act ¢, 258
                  legal search of Korluh Kennedy & Velissa Shaelton’s apartment: 4/10/2019
                  Public Employee(s) Involved: Trooper Thiago Miranda (ID # 3565)
                  Location 184 Cohasset Street, Worcester, MA

         Dear Secretary Maldonado, Attorney Healy and Colonel Mason:

                  Please be advised that I represent Korluh Kennedy and Veelisa Shaelton, (“Mis.
         Kennedy) and (“Ms. Shaelton”) two individuals who were victims of an unwarranted
         invasion of their home by members of the Massachusetts State Police violent
         apprehension unit back on April 10, 2019. This occurred at Ms. Kennedy’s home located
         at 184 Cohasset Street in Worcester, Worcester County, Massachusetts. Ms, Shaelton
         was a tenant at her home who paid rent to her, Both were injured as a result of the
         collective gross negligence of State Troopers that were members of the violent
         apprehension unit. We only know the identify of one of the Troopers, MSP Thiago
         Miranda, (ID#3565). I write to your office give you notice and presentment on behalf of
         my clients, Ms. Kennedy, Ms. Shaelton, who alleged injuries as a result of the grossly
         negligent conduct on the part of Trooper Miranda and others. This notice is served under
         the Massachusetts Tort Claims Act.
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    Lidia A. Maldonado, , Secretary
    Maura Healy, Attomey General
   Col. Christopher Mason, Superintendent

           Facts
    ~~     OnMarch21, 2019, Mrs, Kennedy’s son, Augustus B. Kormah was arrested by a
    Massachusetts State Trooper, Antwan Haywood #3967 in Worcester County and charged
    with
      a drug offense, possession of Class B drug, subsequent, Seo Ex. #1. Mr, Kormah’
   was scheduled for arraignment and did not show up to court to the Worcester District on
   March 25, 2019 and a bench warrant issued. See Ex.2, court docket for Mr. Kormah at
   ‘the Worcester District Court. Mr. Kormahdid not live with his mother at 184 Cohasset
   Street in Worcester, Massachusetts.   Ms. Kormah is a naturalized U.S. citizen who was
   born in Liberia.

         When he failedto showup to Court the MSP violent fugitive apprehension force
   went looking for hin and showed up to his mother's house at 184 Cohasset Street
   knowing he did not live with his mother, Thisis the reason why the state police fugitive
   apprehension group went looking
                               for him at his mother’s house. A large group of
    Troopers went to Mrs, Kennedy*s house around 6:30am and knocked loudly. When
  - Mis. Kentiedy approached the door they demanded to be let into her house. When she
   opened the daor a group of Troopers rushed into her house. They did not haye a search
  -wanant with them to enter or search her house. Weapons were pointed at her and at Ms.
   ‘Shaelton. Mrs, Kennedy told the officers her son, Augustus B. Kormah did not live with
   her
     and that she did not know of his whereabouts, Instead, the state police officers
   including Trooper Thiago Miranda began systematically searching her apartment and
   destroying it in the progess. They even brought two police K-9's to search through her
   house, One of them utinated insideof her house. After approximately 35 to 45 minutes
   of wrecking her apartment, Mis, Kennedy asked a Trooper, (Thiago Miranda) whether
   they had a warrantto be in her house and search it. Miranda told her he did not have one.
   When Mts. Kennedy told her she would call my office, the troopers packed their
   belongings  and left, Ihave include photographsof the damage they caused to my client's
  house/apariment. Ex. 3, My clients were traumatized by the poli¢e actions. Before they
  left, one of the Troopers (Thiago Miranda) who did not identify himselfby name to Mrs.
  Kennedy allowed hero take a photo of his telephone number, Ex.
                                                               4. The phone was
  Yistd to Tom with phon number SRN
        On Jute 1, 2019, we filed a complaint with the Massachusetts State police See
  Ex.5. On June 16, 2020, our client was interviewed at our office by Ret. Det, Lt. Robert
   F. Fries from the State Police Standards and Training Internal Affairs Section. More
   recently we made a public records request and were told by the Mass. State Police Law
   Department   they had no records of anyone fiom the fugitive apprehension unit or K-9
- being deployed to Mrs. Kennedy’s apartment on April 10, 2019. We were toldto check
  with federal authorities. But they had not been involved in the illegal entry and search of
  aur clients house.
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    Lidia A. Maldonado, , Secretary
    Maura Healy, Attomey General
    Col. Christopher Mason, Superintendent
           We recently compared “Tom's” phone number appearing at Ex. 4, in our
    proprietary data base. This number belongs to Trooper Thiago O, Miranda who lives at
                                 MA. See Ex.5.



           As per ¢. 258 the Commonwealth is liable to Mrs. Kennedy and Shaelton for
    damages as result of their negligence.   Mis. Kennedy demands $1          and Ms.
   Shaelton demands $7           from the Commonwealth for the injuries they suffered.
           Thaak you for your anticipated cooperation.




    Ce:
    Sean W. Farrell
   Office of the Chief Legal Counsel
   Massachusetts State Palice
   470 Worcester Road
   Frainghat, MA 01702
Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 8 of 62




                                      EXHIBIT # 1
                 Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 9 of 62



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Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 11 of 62

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Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 12 of 62




                                       EXHIBIT # 2
              Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 13 of 62

  2/3/2021                                                                       Case Detalls - Massachusetts Trial Court 6

    1962CR001783 Commonwealth vs. Kormah, Augustus B                                                                                                     :

     Case Type!
     Criminal
     Case Stafus:
     Suspended-Notices sent Covid-18
     File Date
     03/22/2019
     DCM Track:

     Initiating Actlon:
     DRUG, POSSESS CLASS B, SUBSQ.OFF. c94C §34
     Status Date:
     04/17/2020
     Case Judge:

     Next Event:
     03/30/2021




        Party Information
        Kormah, Augustus B
       - Defendant                                                                           ]
        As                                      eeerornn)                        [Party Altomay
                                                                                 Attorney
                                                                                 Rleclardl, Esq., Vincent F
                                                                                 Bar Code
                                                                                 418050
                                                                                 Address
                                                                                 47 Harvard St
                                                                                 Worcester, MA 01609



                                                                                                                                                 More Party Information
      ‘Mass State Police -Holden TTTTT TTT                                                                                                                    oes
       - Complainant

       Qo)                                                                   Camyatomey
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                                                                                                                                                 Mo e   Party       Information




       Am    fre   re 1   ets 3 rm   ms

       Party Charge Information
     +] Kormah, Augustus B
   - of = Defendant
        Charge # 1:
            04CI4ID40         « Misdemeanor - more than 100 da El Incarceration                  DRUG, POSSESS CLASS B, SUBSQ.OFF. c94C                      §34
   ° Original Charge
   o | 94C/34/D-0 DRUG, POSSESS CLASS B, SUBSQ,OFF, c94C §34
       (Misdemeanor - more than 100 days Incarceration)
   o | Amended Charge
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    »{ - Defendant
        Charge # 2:
          88/11-3 = Civil Motor Vehicle Infraction               CROSSWALK VIOLATION * ¢89 §11
       Original Charge
      806/11-3 CROSSWALK VIOLATION * ¢89 §11 (Civil Motor Vehicle Infraction)
      Amended Charge




      Events                                                                                                                                                                        1

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               Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 14 of 62

 2/3/2021                                                                                                                   Case Detalls - Massachusetts Trlal Court 6
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       03/22/2019                Criminal complaint Issued.
                                 Originating Court: Worcester District Court
                                 Case Number: 1962AC001994-
                                 Recelving Court: Worcester District Court
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       03/22/2019                Complaint Issued upon new arrest,
      0322/2018 Statementoffacts fled.                     TTT
      03/25/2019 Event Resulted: Arraignment scheduled om:
                                           03/25/2019 08:55 AM
                                 Has been: Defendant defaulted-Fi to Appear
                                 Hon. Janet J McGulggan, Presiding
                                 Appeared:
                                 Staff                                                                                                              Ys                                                   =                    Ee                                  ;                 TL           Sr
      03/25/2019 Default Warrant ordered to Issue,
                 Judge: McGulggan, Hon. Janet J
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              Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 15 of 62

 2/3/2021                                                                                                                        Case Detalls - Massachussetts Trlal Court 8

       Docket                       Docket Text                                                                                                                                                             ‘                                                                                                        Image
       BD                                                                                                                                                         i.                                                                                                                                                 Avall,
        00/30/2019                  Event Resulted; Default Removal Hearing scheduled ont
                                            09/30/2019 08:55 AM
                                    Has been: Held - Default Removed ~ CR
                                    Hon. James 6 Haddad, Presiding
        09/30/2019                  Defendant before court voluntarily after Issuance of warrant and warmant
                                                                                                     we      tcancelied                                                                                                                  J
                                    Judge: Haddad, Hon, James G
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                                                                                                                    Cn 1 C085 AT                          CTY Pn              fn Ame ST        §    et Tre                   ST           FD         Ae                         8       eee ee Pt.           ee ee   5 $e           9 BA et
        09/30/2019                  Warrant recalled:
                                    Judge: Haddad, Hon. James G
       09/30/2019                   Event Resulted: Arralgnment scheduled on:
                                         09/30/2019 08:56 AM
                                    Has been: Held - Ball or Condilions of Release ordered
                                    Hon. James G Haddad, Presiding
                        180a 4 +1 Se        cs Er       rar ot                     0 Btn foe he ST                BUN § AL 1M fenrT 1 5 ps So FA                               ET Lh                AY           SF         re    rr                     4         EE © ra ot ov © A" 2                     ren Sm ent ++ Be             rm re
       09/30/2019                   Defendant arraigned before Court, advised of right to counsel.
                                    Judge: Haddad, Hon, James G
                               1 Ie £1       5   ie     Ef   SS      ATRAR BY Gh                  EN © A BAk     4 ET Ah £8     SOA +8 BAIL
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       09/30/2019               Plea of Not Gulity entered on all charges.
                                Judge: Haddad, Hon. James G
                                                                                                                   ee                       co cn                  es 12 1.            1 et            Ft         et             ee            fh    en            ee                                bm + Ri         | 8            nt           £m
      09/30/2019
       Py    dtm
                 Ball ordered: $ $20,000.00 suretyrrrbond
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                                                          or $1 $2,000.00  cash,
                                                       4         re 0 fn ot VAM]                                                                                 St ©     AN         ams 2         4            mt fh            re Hom                     eA       A              em Ht           oe Pn        brea              mn
                                                                                                                                                                                                                                                                                                                                    ® +5             +       B.
      00/30/2019                Defendant notified of right to a ball review before the Superior Court (C276 §68),
                                Judge: Haddad, Hon. James G
            a                               sc                     tt               pe        mt oe            + 2re + en 1 4 dr           mii
       09/30/2019               Ball revocation warning (276/58) given to the defendant
                                Judge: Haddad, Hon. James G
       vr = tm prerers       cpp       a                      ns 4 rede At                    fed                               TT      2 © rr     ih    a        rs? a   i          en SEA Smt + 0 + a                 Er5 BES                                     rr              pn             sme oe em               err      Pe           |
       09/30/2019               Habeas Corpus for prosecution issued to Worcester County House of Correction returnable for 10/24/2019 08:00
                                AM Pretrial Hearing:
                                Further Orders:

                                Attorney: Ricciardi, Esq., Vincent F

                                Judge: Haddad, Hon. James G
      LB PL Ty           mn En        hn Eh           ht Le Se       i, St oh                rt     nt    i     hs + in 0 ts         SLA dn      Ade HASBe L558$6 8-00 IE Ba $2               £m 1 Arn ER              erm       bere                       Sv rate5 A              a        a     pg        1 tment
       09/30/2019               Defendant Is ordered committed without ball because DEFENDANT'S BAIL HAS BEEN REVOKED                                                                                                                                                    (276 s. 58) to
                               Yicrossier County House of Correctlon returnable for 12/27/2019 09:00 AM Hearing to Review Status; mittimus
                                    S5Ue


                                Court location of next event (If not thla court);
                                Further Orders:
                               Attorney: Rlcclard|, Esq., Vincent F

                               Judge: Haddad, Hon. James G
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      09/30/2019               ..

                               Mittimus Without Ball (DOCKET FORM)
                               Sent On; 09/30/2019 11:58:19
      09/30/2019 Commonwealth's
                           motion to reviselfevoke ball or conditionsof release fled and ALLOWED, mage.
                               Attorney: Ricciardl, Esq., Vincent F
      09/30/2019 Order revoking Pre-tlal release based upon new offense:1962CRE420 Image
      a                                                                      eh              4 tc rns    tf      ade A          A     Kd Lm         = 1 Bh By + LD tnVA                       Vt §              IY STI 4 ATS A                      UR AED Bt                   +       1101 nt             rm       = et     re sma om                  J
      10/24/2019               Event Resulted: Pretrial Hearing scheduled on:
                                    10/24/2019 09:00 AM
                               Has been: Reschedule of Hearing      For the following reason: On Order of the Court
                               Hon. David P Despolopulos, Presiding
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      10/24/2019               Habeas Corpus for prosecution Issued to Worcester County House of Correction retumable for 12/18/2019 09:00
                               AM Pretrial Hearing:
                               Further Orders:

                              _ Judge: Despotopulos, Hon. David P
                               i                  418
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      12/18/2019 Event Resulted: Pretrial Hearing scheduled an:
                                           12/18/2019 09:00 AM                                                                                                                                                          :
                               Has bean: Reschedula of Hearing                                                    For the following reason: On Order of the Court
                               Hon. Jennifer L Ginsburg, Presiding
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      mB Pa SP en 64 et rh                                                                                                       Tt a Un                     1      1B    Bn Saar             es A              1 ¢ be)A                her 4 BB A Ba hms       AME mat                  3       Aas mr mimes rast     8m        A see    aman
      12/18/2019               Habeas Corpus for prosecution Issued to Worcester County House of Correction relumable for 01/08/2020 08: 30
                               AM Pretrial Hearing:
                               Further Orders:

                               Judge: Ginsburg, Hon. JenniferL
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             Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 16 of 62

2/3/2021                                                                                          Case Details - Massachusetts Trial Court 6
       Dogket              Docket Text
                                                                                                                                                                                                                         Image
       Rate          tr           ee     LE         ———    ny   we         —   eth Sh Lp     Wo    tam—          se    va            -.        To        —                                                               Avail,

        12/18/2019         fizbess Corpus for prosecution Issued to MCI - Shirley returnable for 12/27/2019 09:00 AM Hearlng to Review
                             tatus:
                           Further Orders:

                           Judge: Ginsburg, Hon. Jennifer L
       12/27/2019          Event Resulted: Hearing to Review Status scheduled on:
                                12/27/2019 09:00 AM
                           Has heen: Review Completed
                           Hon, Michael G Allard - Madaus, Presiding
       12/27/2013          Defendant Is ordered committed to Worcester County House of Correction In lleu of having posted bail In the
                           amount ordered: ($20,000,00 Bond; $2,000,00 Cash), returnable for 01/09/2020 09:00 AM Pretrial Hearing;
                           mittimus Issued,                                       :
                           Court location of next event (If not your court);
                           Further Orders:
       12/27/2019          Event Resulted: Pretrial Hearlng scheduled on:
                                   01/08/2020 08:30 AM
                          Has been: Reschedule of Hearing       For the following reason: Brought forward
                          Hon, Michael G Allard - Madaus, Presiding
       01/09/2020 Event Resulted: Pretrial Hearing scheduled on:                                                                                                                      =                    ij                     r=
                                  01/09/2020 09:00 AM
                          Has been: Held-PT
                          Hon. Steven D Power, Presiding
       01/09/2020         Pretrial conference report filed.                                                                                                                                                                   Image    f
                          Judge: Power, Hon, Steven D
       03/11/2020         Event Resulted: Discovery Compliance & Jury Election scheduled on:
                                  03/11/2020 09:00 AM
                          Has been: Reschedule of Heating       For the following reason: On Order of the Court
                          Hon, Michael G Allard - Madaus, Presiding
      04/16/2020          Court orders rescheduling due to State of Emergency surrounding the Covid-19 virus. Discovery Compltance &
                          Jury Election scheduled on:
                               05/07/2020 09;00 AM
                          Has been: Rescheduled-Covid-19 emergency
                          Brian D'Andrea, Presiding
      04/17/2020          The following notice was sent:
                          A Covid 19 Emergency Notice was generated and sent to:
                          Defendant: Augustus B Kormah
                          Defendant: Vincent F Ricclardl, Esq,
      05/05/2020          Criminal summons returned to Court: UNSERVED
      07/22/2020          Event Resulted: Discovery Compliance & Jury Election scheduled on:
                                 07/22/2020 08;00 AM
                          Has been: Reschadule of Hearing                                 For the followIng reason: On Order of the Court
                          Hon. Jennifer L Ginsburg, Presiding
      09/14/2020          Event Resulted: Discovery Compliance & Jury Election scheduled on:
                               11/12/2020 09:00 AM
                          Has been: Reschedule of Hearing                                 For the following reason; Brought forward
                          Hon, James G Haddad, Presiding                                                     r
      09/14/2020          Order revoking Pre-trial release based upon new offense:1785CR431, 1962CR6420, 1962CR1 783, 1762CR9848                                                                                             Image

      09/14/2020          Habeas Corpus for prosecution issued to Worcester County House of Correction retumable for 10/13/2020 09:00
                         AM Discovery Compliance & Jury Election:
                         Further Orders;
                         Judge: Haddad, Hon. James G                                                      _
     09/14/2020          Defendant Is ordered committed without ball because DEFENDANT'S BAIL HAS BEEN REVOKED (276 s. 58) to
                         Worcester County Hause of Correction returnable for 12/11/2020 09:00 AM Hearing to Raview Status; mittimus
                         Issued.                                                      ;

                         Court location of next event (if not this court):
                         Further Orders:

                         RE                                                                         EE                                                                  rt
     09/14/2020         Commonwealth's motion to revise/revake ball or conditions of release filed and ALLOWED.                                                                                                             Image
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                 Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 17 of 62

 2(3/2021                                                                                                         Casa Details - Massachusetts Trial Court 6

        Docket                     Docket Text
        Date                                                                                                                                                                                                                                                                              Avall,
        10/13/2020                 Event Resulted: Discovery Compliance & Jury Electlon scheduled on;
                                          10/13/2020 09:00 AM
                                   Has been: Reschedule of Hearing                                   For the following reason: On Order of the Court
                                   Hon, Andrew M D'Angelo, Presiding
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        10/13/2020                 Habeas Corpus for prosecution Issued to Worcester County House of Correction returnable for 11/12/2020 09:00
                                   AM Discovery Compliance & Jury Election:
                                   Further Orders:

                                   Judge: D'Angelo, Hon, Andrew M
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        11/12/2020                 Event Resulted: Discovery Compliance & Jury Election scheduled on:
                                        11/12/2020 09:00 AM
                                   Has been; Reschedule of Hearing                                   For the following reason: On Order of the Court
                                   Hon. Jennifer L Ginsburg, Presiding
                                                                                                                                                                                                                                 a        TS ot        rt           ape                Aa     Lin       te A
        11/12/2020                 Say hearing scheduled on 11/12/2020 09:00 AM Discovery Compliance & Jury Election conducted by ZOOM
                                     onference ,
                                   Judge: Ginsburg, Hon. Jennifer L
            Ee                                             me      mer    ttt   ee eas a pm.
        12/11/2020                 Event Resulted: Discovery Compliance & Jury Election scheduled on;
                                        12/11/2020 09:00 AM
                                   Has been: Reschedule of Hearing                                  For the following reason: On Order of the Court
                                   Hon: Meghan S Spring, Presiding
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       12/11/2020                 Event Resulted: Hearing to Review Status scheduled on:
                                       12/11/2020 08:00 AM
                                  Has been; Not Held
                                  Hon. Meghan 8 Spring, Presiding
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       12/11/2020                 Sout hearing scheduled on 12/11/2020 09:00 AM Discovery Compliance a Jury Election conducted by ZOOM
                                  Conference .

                                  “Judge: Spting, Hon. Meghan S
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       12/11/2020                 Defendant waives 30 day continuance right under C276 5.35.

                                  Judge: Spring, Hon. Meghan $
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      1 2/11/2020                 Defendant is ordered committed without ball because DEFENDANT'S BAIL HAS BEEN REVOKED (276 8. 58) to
                                  Worcester County House of Correction returnable for 03/30/2021 09:00 AM Discovery Compliance & Jury
                                  Election; mitimus issued,

                                  Court location of next event (If not this court);
                                  Further Orders:
                                  DEFENDANT REMAINS HELD PURSUANT TO SJC 12949, 12950, 12955

                                  Judge: Spring, Hon. Meghan S
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Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 18 of 62




                                      EXHIBIT # 3
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                                     EXHIBIT # 4
Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 55 of 62




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Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 56 of 62




                                      EXHIBIT # 5
Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 57 of 62




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Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 58 of 62



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          Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 59 of 62


                                    The Commonwealth of Massachusetts
                              Executive Office of Public Safety and Security
                                          One Ashburton Place, Room 2133
                                            Boston, Massachusetts 02108
                                                         Tel: (617) 727-7775
                                                    TTY Tel: (617) 727-6618
                                                      Fax: (617) 727-4764                              THOMAS A. TUR
CHARLES D. BAKER                                                                                                .        CO, lll
     Governor                                        WWW.Mmass.gov/eopss                                     Secretary

KARYN E. POLITO
Lt. Governor
                                                     March 25, 2021




                Hector E. Pineiro, Esq.
                Law Offices of Hector E. Pineiro, P.C.
                807 Main Street
                Worcester, MA    01610

                RE:    MA Claim # 2021-13640-POL — Korluh Kennedy and Velissa Shaelton

                       Date of Incident: April 10, 2019
                       Location of Incident: 184 Cohasset Street, Worcester, MA
                       Claim Letter Dated: March 18, 2021
                       Claim Letter Received: March 22, 2021

            Dear Attorney Pineiro:

                       The Executive Office of Public Safety and Security received your claim on March
            22,2021 and has forwarded this claim to the Department of State Police for investigation.
            Pursuant to M.G.L. c. 258, that office has six months from the date the claim letter was
            received to reach a determination in this matter.

                   Should you have any questions concerning this matter, please contact Pamela
            Rautenberg, Paralegal Specialist, Department of State Police, either in writing at 470
            Worcester Road, Framingham, MA 01702 or by telephone at (508) 820-2300.

                                                     Sincerely,



                                                    Anne Marie Resca
                                                    Paralegal Specialist
            Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 60 of 62


                                  The Commonwealth of Massachusetts
                            Executive Office of Public Safety and Security
                                         One Ashburton Place, Room 2133
                                           Boston, Massachusetts 02108
                                                   Tel: (617) 727-7775
                                                    TTY Tel: (617) 727-6618
                                                      Fax: (617) 727-4764
CHARLES  D. BAKER
     Covers,                                                                                             THOMAS A. TURCO, lil
                                                     WWW.mass.gov/eopss                                         Secretary

 KARYN E. POLITO
    Lt. Governor
                                                     March 25, 2021



              Hector E. Pineiro, Esq.
              Law Offices of Hector E. Pineiro, P.C.
              807 Main Street
              Worcester, MA 01610

              RE:    MA Claim # 2021-13640-POL — Korluh Kennedy and Velissa Shaelton

                     Date of Incident: April 10,2019
                     Location of Incident: 184 Cohasset Street, Worcester, MA
                     Claim Letter Dated: March 18, 2021
                     Claim Letter Received: March 22, 2021

              Dear Attorney Pineiro:

                     The Executive Office of Public Safety and Security received your claim on March
              22,2021 and has forwarded this claim to the Department of State Police for investigation.
              Pursuant to M.G.L. c. 258, that office has six months from the date the claim letter was
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                    Should you have any questions concerning this matter, please contact Pamela
             Rautenberg, Paralegal Specialist, Department of State Police, either in writing at 470
             Worcester Road, Framingham, MA 01702 or by telephone at (508) 820-2300.

                                                    Sincerely,



                                                   Anne Marie Resca
                                                   Paralegal Specialist
Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 61 of 62




                                           EXHIBIT # &




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            Case 4:22-cv-11152-NMG Document 27-4 Filed 08/11/22 Page 62 of 62


                                  The Commonwealth of Massachusetts
                            Executive Office of Public Safety and Security
                                         One Ashburton Place, Room 2133
                                           Boston, Massachusetts 02108
                                                    Tel: (617) 727-7775
                                                  TTY Tel: (617) 727-6618
                                                       Fax: (617) 727-4764
CHARLES  D. BAKER
     Coornor                                                                                             THOMAS A. TURCO, ) Ii
                                                       Www.mass.gov/eopss                                        Secretary
 KARYN E. POLITO                                                                        |                      ( C Va
    Lt. Governor                                                                               =            L.
                                                    March 25, 2021                                                   ~

                                                                                            a
                                                                                               7 C.7&_ 7
                                                                                                                                 -
              Hector E. Pineiro, Esq.                                                                        ra
              Law Offices of Hector E. Pineiro, P.C.                                          ()             Vi
              807 Main Street                                                                  oF                            .
              Worcester, MA     01610

              RE:     MA Claim # 2021-13640-POL — Korluh Kennedy             and Velissa Shaelton              (. F

                     Date of Incident: April 10,2019
                     Location of Incident: 184 Cohasset Street, Worcester, MA
                     Claim Letter Dated: March 18, 2021
                     Claim Letter Received: March 22, 2021

              Dear Attorney Pineiro:

                     The Executive Office of Public Safety and Security received your claim on March
              22,2021 and has forwarded this claim to the Department of State Police for investigation.
              Pursuant to M.G.L. c. 258, that office has six months from the date the claim letter was
              received to reach a determination in this matter.

                     Should you have any questions concerning this matter, please contact Pamela
             Rautenberg, Paralegal Specialist, Department of State Police, either in writing at 470
             Worcester Road, Framingham, MA 01702 or by telephone at (508) 820-2300.

                                                    Sincerely,



                                                   Anne Marie Resca
                                                   Paralegal Specialist
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